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                              UN ITED STATES DISTRIC T C O URT
                           CA SE
                              SO N
                                 UTH
                                   O .17-
                                      ERN80242-
                                           D ISTR
                                               CR-IRO
                                                   CT SENBERG
                                                      OF FLO RIDA
                                                               /H U NT                -- SEALED

                                                                                      ...-   NOT SEALED
     UNITED STA TES O F AM ER ICA

                                                                       PerLocalRule5.4(d),thematterts)
                                                                        shallrernain sealed.
     ALEJA NDRO AN DR AD E C ED ENO ,
                                                                             years;     (specificdatel;
            Defendant.
                                                                             permanently'
                                                                                        ,        (other).


                            PR ELIM INA RY O R DER O F FOR FEITUR E

            THIS CAUSE is before the Courtupon motion ofthe United States of America (the
     tûunitedStates'')forentryofaPreliminaryOrderofForfeitureforaforfeituremoneyjudgmentin
     the amountofin theamountof$1billion inU.S.currency,andtheforfeiture ofcertain assetsin
     partialsatisfaction thereof Being fully advised in the prem ises and based on the United States'

     Unopposed M otion for Prelim inary Order of Forfeiture,and M em orandum of Law in Support

     Thereof,the record in thism atter,and forgood cause show n thereby,the Courtfindsasfollow s:

                   On December22,2017,DetkndantAlejandroAndradeCedeno(theûûDefendanf')
     pleaded guilty to a single-count lnfol-m ation,which charged him with conspiracy to violate l8

     U.S.C.j1957,thatis,toknowingly engageandattempttoengageinmonetarytransactionsby,
     through,or to a financial institution,affecting interstate and foreign com m erce, in crim inally

     derived propel'
                   ty ofa value greaterthan $10,000,such property having been derived from a

     specified unlawfulactivity(i.e.aviolationof'theForeign CorruptPracticesAct,in violationof15
     U.S.C.j78dd-3),in violation of18 U.S..
                                          I
                                          J
                                          '
                                          -.jl956(h). See lnformation;Plea Agreement!2.
     See also Consentto Forfeiture ! l,attached to U.S.'SUnopp.Mot.forPreliminary Orderof

     Forfeiture.
            2.      ln a w ritten PleaA greem ent,the Defendantagreed,am ong otherprovisions,to the
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     follosving:
            11.    The defendant agrees to fbrfeit to the United States voluntarily and
            immediately allproperty,realorpersonal,involved intheviolation ofTitle l8,
            UnitedStatesCode,Sectlon195615
                                         ,1
                                          .chargedinthelnformation,propertytraceable
            to such property,and/orproperty thatconstitute substitute assets,pursuantto Title
            18,UnitedStatesCode,Section982(a)(1)andTitle21,UnitedStatesCode,Section
            853(p). Thedefendantagreesthatsuchproperty includes,butisnotlimitedto,a
            sum equalin value to the totalam ountlaundered to,by,and/orforthe benefitof
            the defendantaspartofthe charged conspiracy,w hich the United Statesm ay seek
            asaforfeituremoneyjudgment. Thedefendantadmitsandagreesthattheconduct
            described in the lnform ation and FactualProfferprovides a sufficientfactualand
            statutory basisforthe forfeiture soughtby the Governm ent.

            12.    Thedefendantagreesto waiveany appealofthe forfeiture. The defendant
            waivestherequirementsofRules32.2 and43(a)oftheFederalRulesofCriminal
            Procedure regarding notice ofthe forfeiture in the Inform ation,announcem ent of
            theforfeitureatsentencing,and incorporation oftheforfeiturein thejudgment.
            ThedefendantalsowaivesanyfailurebytheCourttoadvisethedefendant.    ofany
            applicableforfeitureatthetimethe gullty pleaisaccepted asrequired by Rule
            11(b)(1)(J)oftheFederalRulesofCrimlnalProcedure. Thedefendantfurther
            agrees to waive any applicable tim e lim its for the initiation of adm inistrative or
            judicialforfeiture proceedingsand/orfurthernotification ofany such forfeiture
            broughtagainstthe property soughtforforfeiture.

            l3.    The defendant also agrees to assist the G overnm ent in all proceedings,
            administrativeorjudicial,involvingforfeituretotheUnitedStatesofanyproperty,
            including substitute property, regardless of its nature or form , real or personal,
            whichthedefendantorothersknown to thedefendant,haveaccum ulated asaresult
            ofillegalactivities. The defendantagreesthattheU nited Statesshall,atitsoption,
            beentitledtoforfeitureofanyproperty(substituteassets)ofthedefendanttosatisfy
            theforfeituremoneyjudgment. ThedefendantagreesthatallelementsofTitle21,
            United States Code,Section 8531 )have been satisfied. The defendantfurther
            agreesto take a1lstepsnecessary to locate property thatcould be used to satisfy the
            forfeiture money judgment and to pass title to the United States before the
            defendant's sentencing. To that end, the defendant agrees to fully assist the
            Governm ent in the recovery and return to the U nited States of any assets, or
            portions thereof,wherever located.The assistance shallinclude:identification of
            anypropertysubjecttoforfeiture,agreementtotheentryofanorderenjoiningthe
            transfer orencum brance ofsuch property,and the transferorrepatriation of such
            property to the United States by delivery to the Governm ent, upon the
            Governm ent's request, any necessary and appropriate docum entation, including
            consentsto forfeiture and quitclaim deeds,to delivergood and m arketable title to
            such property. The defendant understands that failure to transfer or repatriate
            propertysubjecttoforfeituremayresultinan obstructionofjusticeenhancement
            atsentencing.
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            l4. The defendant further understands that forfeiture is independent of any
            assessm ents,fines,costs,restitution,orany otherpenalty thatm ay be imposed by
            the Court. The defendantknowingly and voluntarily w aivesany claim ordefense
            he m ay have under the Eighth Alnendm ent to the United States Constitution,
            including any claim of excessive fine or penalty with respect to the forfeited
            property.

            l5. The defendantagrees to m ake fulland accurate disclosure Ofhis financial
            affairs to the Governm ent,and expressly authorizes the G overnm ent to obtain a
            creditreport. The defendantagreesthatwithin l0 calendardaysofhis change of
            plea and upon requestofthe G ovenzm ent,the defendantshallsubm ita com pleted
            FinancialDisclosure Statement(form provided by the United States),anclshall
            fully disclose and identify a1lassetsin which hehasany interestand/oroverwhich
            the defendantexercises control,directly or indirectly,including those held by a
            spouse,nom inee,orotherthird party.

     SeePleaAgreement!!l1-15. SeealsoConsenttoForfeiture!2.
                   A s set forth in the Factual Proffer subm itted in support of his guilty plea, the

     D efendantw asthe VenezuelanN ationalTreasurerfrom approxim ately 2007to 20l1. SeeFactual

     Proffer!3. ByvirtueofhisofficialpositionastheVenezuelanNationalTreasurer,theDefendant
     had theability to intluencem attersrelated to the bolivarto U.S.dollarexchange process,including

     deciding which brokerage houses received governm entauthorization to conductthese exchanges

     ata fixed exchange rate established by the Venezuelan governm ent. 1d.! 6. See also Consent

     toForfeiture!3.
                   From approxim ately 2007 through January 2011,the Defendantagreed to accept

     bribes from co-conspiratorsin exchange forselecting them to carry outthe U.S.dollarto bolivar

     exchange process with the V enezuelan National Treasury, or Oficina N acional de1 Tesoro

     (1çONT'')5which allowed those co-conspiratorsto obtain substantialprofits on the exchange
     transactions. SeeFactualProffer!7. Sei?alsoConsenttoForfeiture!4.
                   From 2007 to the present, when the Defendant requested, at least three co-

     conspirators w ould transfer or cause the transfer of funds to purchase property and pay forhis
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     expensesin theSouthern DistrictofFloridaand elsewhere. See Consentto Forfeiture!5. See
     alsoFactualProffer!!10-12.
                              ,PresentencelnvestigationReport,June 15,2018,!60. Together,
     these three co-conspiratorstold the Defendantthatthey held orare holding Venezuelan bondsand

     otherassetsvalued atapproximately $1 billion in U.S.currency during thistime period forthe

     Defendant'sbenefit. SeeConsenttoForfeiture!5.
                   The Defendant has consented and agreed to the entry of a Forfeiture M oney

     Judgmentin the amountofatleast$1billion,which isequalto the totalvalueof'the property,
     realor personal,laundered to,by,ancl
                                        /or for his benefitand involved in the m oney laundering

     conspiracy charged in the Inform ation,and property traceable to such property. See Consentto

     Forfeiturejg7.
                   ln partial satisfaction of such Forfeiture M oney Judgm ent,the Defendant has

     consented and agreed to the forfeiture ofthe follow ing specific property,among otherproperty,

     thathe obtained,directly and indirectly,asa resultofthe charged m oney Iaundering conspiracy,

     orwasusedto purchase,improve,and/ormaintainassetsfortheDefendant'sbenefit(collectively,

     theCisubjectAssets'):
            FinancialAccounts
            (l)    Allassetsondepositinaccountnumber0209551AA heldinthenameof,orforthe
                   benefitof,AlejandroAndradeatBSlBank in Switzerland;
            RealEstate
            (2)    15231Sunnyland Lane,W ellington,Florida33414;
            (3)    15680and 1574046thLaneS,Wellington,Florida33414;
            (4)    1290N.OceanBoulevard,Palm Beach,Florida33480;
            (5)    16912 Crown Bridge Drive,DelRayBeach,Florida33446;
            (6)    15l59SunnylandLane,Wellington,Florida33414;
            (7)    12789M eadowbreezeDrive,Wellington,Florida33414;1
      lApproximately $100,000 ofthe$250,00()purchasepriceforthispropertywasfunded byoneof
     the Defendant's co-conspirators;however,the rem aining portion was funded by the Defendant's
     w ife and herfam ily. lnrecognition ofthepotentialthird-party claim sto suchpropel rty,theUnited
     States has agreed thatif the Courtgrants the proposed prelim inary forfeiture,the United States
     w ould file anotice oflispendensand only pursue finalforfeiture ofits interestin the realproperty
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            Vehicles
           (8)     2017 M ercedes Benz GlwS 550, Vehicle ldentification Number ($$VlN'')
                   4JGDF7DE8HA 893079;
           (9)     20l7M ercedesBenzAMG G-63;
           (10)    2017CadillacEscalade,VIN 1GYS4KKJ4HRl35174;
           (11)    2016PorscheCayenne,VIN W P1AC2A26GLA86557;
           (12)    2016ChevyTahoe;
           (13)    2016M ercedesBenzAMG S-63,Vm W DDXJ7JB3GA012139
           (14)    2015 Bentley ContinentalConvertible,Vm SCBGJ3ZA2FC044777;
           (15)    2015ChevroletSilverado 2500,Vm 1GC4KYC83FFl80852;
           (16)    2014DodgeRam 3500;
           (17)    2013Toyota4 Runner,VIN JTEZU5JR4D5048434;
           (18)    2009CimarronHorseTrailer,VlN 513A11634249C006294;
           (19)    Lawnmower/tractor;
           (20)    Three(3)golfcarts;
           Horses
           (21)    AnastasiaDuPark;
           (22)    Bonjovi;
           (23)    Boy1V;
           (24)    Clouwni;
           (25)    Cortinal86;
           (26)    Dipssy;
           (27)    HardrockZ;
           (28)    Jenni'sChance;
           (29)    Joly Jumper;
           (30)    LeonardoRGS;
           (31)    NokiadeBrekka;
           (32)    QuilinaVD LaarseheideZ;
           (33)    Reusde laNutria;
           (34)    RicoreCourcelle;
           (35)    TupacVan deVrombautshoeve2;
           (36)    U;
           (37)    TinkerBell;
            Watches
            (38) Rolex DaytonaCosmograph (platinum)watch,reference(ûlRef')l16506,
                 serialnumber($$SN'')L900U410;
            (39) Rolex Yacht-Master11(whitegold andplatinum)watch,Ref116689,SN
                    V773093;
            (40) RolexSky-Dweller(yellow gold)watch,Ref326938,SN 58W365Z2;
            (41) HublotBlg Bang King (rose gold and black dial)watch,Ref322,SN
                    762177;
            (42) HublotBigBangKingBlack Magic(blacktitanium andceramic)watch,
     ifthatproperty is sold.
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                 Ref322,SN 737211;
           (43) HublotBig Bang Chronography Tourbillon 20th Anniversary ofFerrari
                watch,Lim ited4 of20,Ref308.QX.l1IO.HR.SCFII,SN 930027;
           (44) HublotKingPower(black titanium andceramic)watch,Limited8 of35,
                 SN 860397;
           (45) HublotBigBangUEFA (blacktitanium andceramic)watch,Limited l557
                 of2008,Ref318,SN 739956;
           (46) HublotBigBangYankeeVictor(stainlesssteel)watch,Limited29of100,
                 Ref301,SN 689869,
                                 .
           (47) HublotKingPower(titaniulnandzirconium,rubberband)watch,Limited
                 244 of500,SN 823700;
           (48) HublotKingPowerLavinotintoChronograph(blacktitanium andceramic)
                 watch,Lim ited 11of40,SN 977783;
           (49) Patek Philippe Nautilus (stainless steel) watch, Ref 5990 / 13*-001,
                 M ovem entN o 5998681,SN A 384FBC;
           (50) PatekPhilippeNautilusAnnualCalendar(stainlesssteel)watch,Ref'5726/
                 lA-001,M ovem entN o 5334786,SN A 384FA P;
           (51) Patek PhilippeNautilusmanual(rosegoldand stainlesssteel)watch,Ref
                 5980 / lAR-001,M ovem entN o 5928544,SN A 3841A P;
           (52) AudemarsPiguetRoyalOak OffshoreChronograph (rosegold and black
                rubberband)watch,Ref3850,SN 629840;
           (53) AudemarsPiguetRoyalOakOffshoreSafariChronograph(stainlesssteel
                and brownband)watch,No 5446,Ref26l70,SN G43443;
           (54) AudemarsPiguetRoyalOakOffshoreChronographBumbleBee(carbon)
                 w atch,N o 2376,Ref26176,SN 48097;
           (55) AudemarsPiguetRoyalOakOffshore(stainlesssteel)watch,No 1836,Ref
                 26170,SN 6 17332;
           (56) RogerDubuisE>sy DiverTourbidiver(stainlesssteel)watch,MoNement
                 N o RD 05,SN 13/88;
           (57) RogerDubuisM uchMore(rosegold)watch,SN 23/28,stamped71   50;
           (58) PaneraiLuminorM onopulsanteGM TChronograph(titanium andceramic)
                 watch,Lim ited 1.005 of500,No 0P6752,RefPAM 00317,SN 88 1458977;
           (59) PaneraiLuminorSubmersible Divers Professional(stainlesssteel)watch,
                 Lim ited .
                          1459 of700,N o 0 P6701,SN 881253185;
           (60) PaneraiLuminor(stainlesssteel)watch,LimitedKl98of500,No0136726,
                 SN P80596207;
           (61) lW C PilotSpitfireChronograph PerpetualCalendar(yellow gold)watch,
                 N o AU 750,Ref1W 379103,SN 5074132;
           (62) JaegerLeCoultreMasterCompressorDivingGMT watch,Refl59.7-.05,
                 SN 24712719
           (63) JaegerLe Coultre MasterCompressorDiving Chronograph (rose gold)
                 watch,Ref160.2.25,SN 2469332;
           (64) Jaeger Le Coultre Master Grande Tradition Minute Repeater rnanual
                (titanium)watch,Limited65of100,Ref.l87.7-.67.5,SN 2653359;
           (65) FrankMullerCasablanca(stainlesssteel)watch,No l018,Ref8885C CC
                 DT;


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           (66) Frank M ullerM ariner(stainlesssteeland red dial)watch,No 69,Ref908
                  CC AT M ar;
                  FrankMullerM arinerChronograph(stainlesssteelandbluedial)watch,No
                  29,Ref8080 CC AT M ar;
           (68) FrankVilaTourbillonPlanetaireSkeleton SuperlwigeroConcept(titanium)
                  watch,Lim ited 3 of8,RefFVA N 6;
           (69) Frank Vila Chronograph (titanium)watch,Lim ited3 of48,RefFVA I0;
           (70) Greubel Forsey GMT GlobalDouble Tourbillon (white gold) watch,
                  Lim ited 28 of33,RefGF GM T W G,stam ped A 17750 02 669.
                                                                         ,
           (71) IWC Schafthausen BigPilotAntoinedeSaintExuperyEdition(rosegold)
                  watch,Lim ited 35 of500,Ref1W 500421,SN 3427442;
           (72) RolexDaytonaCosmograph(yellow goldandbluedial)watch,Ref116528,
                  SN 52UM 9527;

           JpMorganChaseBankN.A.(UnitedStates)
           (75) Accountnumber000000941600959held in thename ofDoble A Records
                  USA LLC atJpM organ Chase Bank N .A .;

           BankofAmerica (UnitedStates)
           (76) Accountnumber898060394243 held in the name ofTelsey Properties
                  Holding LLC atBank ofAm erica;
                  Accountnumber898061778088 held in the nam e ofD oble A M anagem ent
                  LLC atBank ofA m erica;
                  A ccountnum ber898061778091held in the nam e ofDobleA Farm ,LLC at
                  Bank ofA m erica;
                  Accountnum ber898039362866 held in the nam e ofM alabarM anagem ent
                  LLC atBank ofAm erica;

           WellsFargo Bank(United States)
           (80) Accountnumber5340241792 held in the name ofM alabarM anagement,
                  LLC atW ells Fargo Bank;
           (81) Account number 55364049l5 held in the name of Telsey Properties
                  Holding,LLC atW ellsFargo Bank;and

           EFG Bank (Switzerland)
           (82) Account number C1447084680000114931 held in the nam e of Telsey
                   M anagers lnternationallnc.atEFG Bank in Sw itzerland.

     SeeConsenttoForfeiture!!5-6,8.
           8.     Based on the Defendant'sguilty plea,thePleaA greem ent,theFactualProffer,the

     Presentence lnvestigation Report,and the Consentto Forfeiture,the totalvalue ofthe property,

     realorpersonal,laundered to,by,and/or for the Defendant's benefitand involved in the m oney
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     laundering conspiracy charged in the lnformation was at least $l billion in LJ.S.cun-ency.
     Pursuantto Rule 32.2 ofthe FederalRules ofCrim inalProcedure,thissum m ay be soughtasa

     forfeituremoneyjudgment.
           9.     ln addition,because the Subject Assets were involved in the Defendant's
     conspiracytocommitmoneylaunderingchargedinthelnformation,theyaresubjecttoforfeiture,
     pursuantto 18 U.S.C,j982(a)(1).
           TH EREFOR E,the United States'Unopposed M otion forPrelim inary OrderofForfeiture

     is GR ANTED,and itishereby O RD ER ED that:

                  Pursuantto 18 U.S.C.j 982(a)(l),21U.S.C.j853,and Rule 32.2 oftheFederal
     RulesofCriminalProcedure,a forfeituremoneyjudgmentin theamountof$1billion in U.S.
     currency($1,000,000,000.00)isherebyenteredagainstDefendantAlejandroAndradeCedeno.
           2.     Pursuantto l8 U.S.C.j982(a)(1),thefollowing assetsare hereby forfeited and
     vestedintheUnitedStatesofAmericainpartialsatisfactionofsuchforfeituremoneyjudgment:
           RealEstate
           (1)    15231 Sunnyland Lane,W ellington,Florida 33414,including a1lbuildings,
                  fixtures,appurtenances,im provem ents,attachm ents and easem ents found therein
                  orthereon,and w hich ism ore fully described as:

                  Lot l9,Block 5,PA LM BEACH POINT,according to the m ap orplatthereofas
                  recorded in PlatBook 33,Page l33,PublicRecordsofPalm Beach County,Florida;
                  Parcelldentification N um ber:73-41-44-19-01-005-0190;

                  15680 and 15740 46th Lane S, W ellington, Florida 33414, including al1
                  buildings, fixtures, appurtenances, im provem ents, attachm ents and easem ents
                  found therein orthereon,and w hich are m ore fully described as:

                  A parcelof land lying in Section 30,township 44 South,Range 41,Palm Beach
                  county,Florida being described as follow s:ELY 31l.76 FT OF W LY I858.58 FT
                  LYG S & A DJ TO PA LM BEACH PO IN T A S IN P83312133 & N & A DJ TO C-
                  27 R/W A/K/A TR 5,Public RecordsofPalm Beach County,Florida;
                  Parcelldentification N um ber:73-41-44-30-00-000-7010;and

                  A parcelof land lying in Section 30,tow nship 44 South,Range 4 l,Palm Beach


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                 county,Florida being described as follow s:W LY 31l.76 FT O F ELY4l0l.38 FT
                 OF TH PT OF SEC LYG N OF & A DJTO (2-27 CN L R/W & SOF & PARALLEL
                 TO LTS 12 & l3,Public RecordsofPalm Beach County,Florida;
                 Parcelldentification N um ber:73-41-44-30-00-000-7050;

                 1290 N .O cean Boulevard,Palm Beach,Florida 33480,including a1lbuildings,
                 fixtures,appurtenances,improvem ents,attachm ents and easem ents found therein
                 orthereon,and which ism ore fully described as:

                 TheN orth 33.89 feetto Lot25-A andA LL ofLot26-A ofBELLO LlI)O,according
                 to the Platthereof,as recorded in PlatBook l1,atPage 37,ofthe Public Records
                 ofPalm Beach County,Florida;and Lot4 of Re-platofBELLO LID O,according
                 to the Platthereof,asrecorded in PlatBook 24,atPage 171,ofthe Public Records
                 ofPalm Beach County,Florida;
                 Parcelldentification N um ber:50-43-43-03-06-000-0251;

           (4)   16912 Crown Bridge Drive,DeIRay Beach,Florida 33446,including all
                 buildings, fixtures, appurtenances, im provem ents, attachm ents and easem ents
                 found therein orthereon,and which ism ore fully described as:

                 Lot l59,Bridges -PlatFour,according to the m ap ofplatthereofas recorded in
                 Plat1l5paje56,publicrecordsofPalm BeachCounty,Florida;
                 ParcelIdentlfication N um ber:00-42-46-29-10-000-1590;

                 15159 Sunnyland Lane, W ellington, Florida 33414, including al1 buildings,
                 fixtures,appurtenances,im provem ents,attachm ents and easem ents found therein
                 orthereon,and which ism ol refully described as:

                 Lots20 & 21,Block 5,PA LM BEA CH POINT,accordingtothem ap orplatthereof
                 as recorded in Plat Book 33,Page 133,Public Records of Palm Beach County,
                 Florida;
                 ParcelIdentification Num ber:73-41-44-19-01-005-0200;

           (6)   12789 M eadowbreezeDrive,W ellington,Florida33414,includingallbuildings,
                 fixtures,appurtenances,im provem ents,attachm ents and easem ents found therein
                 orthereon,and w hich ism orefully described as:

                 Lot 150,M EA DOW LA ND COV E - PLA T N O.1 OF W ELLIN GTON - P.U.D.,
                 according to the Platthereol
                                            r,on f5le in the Oftice ofthe Clerk ofthe Circuitcourt
                 in and forPalm Beach County,Florida,asrecorded in PlatBook 58,Page 9;
                 Parcelldentification Num ber:73-41-44-09-04-000-1500;

           Vehicles
           (7)   2017 Mercedes Benz GI
                                     =S 550, Vehicle Identification Number (iûVlN'')
                                     '
                 4JGD F7DE8HA 893079;
           (8)   2017MercedesBenzAM G G-63;
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           (9)    20l7CadillacEscalade,VlN 1GYS4KKJ4HRl35l74;
           (10)   2016 PorscheCayenne,VIN W P1AC2A26GLA86557;
           (11)   2016ChevyTahoe;
           (12)   20l6 M ercedesBenzAM G S-63,Vm W DDXJ7JB3GAOI2139
           (13)   20l5BentleyContinentalConvertible,VlN SCBGJ3ZA2FC044777;
           (14)   2015 ChevroletSilverado 2500,V1N 1GC4KYC83FF180852;
           (15)   2014 DodgeRam 3500;
           (16)   2013Toyota4 Runner,VlN JTEZU5JR4D5048434;
           (17)   2009CimarronHorseTrailer,VlN 51:A14G34249C006294;
           (18)   Lawnmower/tractor;
           (19)   Three(3)golfcarts;
           H orses
           (20)   Anastasia Du Park;
           (21)   Bonjovi;
           (22)   BoylV;
           (23)   Clouwni;
           (24)   Cortina186;
           (25)   Dipssy;
           (26)   HardrockZ;
           (27)   Jenni'sChance;
           (28)   JolyJumper;
           (29)   LeonardoRGS;
           (30)   NokiadeBrekka;
           (31)   QuilinaVD LaarseheideZ;
           (32)   ReusdelaNutria;
           (33)   RicoreCourcelle;
           (34)   TupacVandeVrombautshoeve2;
           (35)   U;
           (36)   TinkerBell;
            Watches
           (37) Rolex Daytona Cosmograph (platinum)watch,reference (iiRef') 1l6506,
                serialnumber(((SN'')L900lJ4l0;
           (38) Rolex Yacht-Master11(whi .
                                         tegold andplatinum)watch,RefI16689,SN
                     V773093;
           (39) RolexSky-Dweller(yellow gold)watch,Ref326938,SN 58W 365Z2;
           (40) HublotBig Bang King (rose gold and black dial)watch,Ref322,SN
                     762177;
            (41) HublotBig Bang KingBlack Magic(black titanium andceramic)watch,
                     Ref322,SN 73721l;
                     H ublot Big Bang Chronogl
                                             raphy Tourbillon 20th Anniversary of Ferrari
                     watch,Limited4of20,Ref'308.QX.1lIO.HR.SCFII,SN 930027;
                     HublotKingPower(black Litanium andceramic)watch,Limited 8of35,
                     SN 860397;
            (44) HublotBigBangUEFA (blacktitanium andceramic)watch,Limited l557


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                 of2008,Ref318,SN 739956)
                 HublotBig BangYankeeVi
                                      ictor(stainlesssteel)watch,Limited29 of100,
                 Ref301,SN 689869;
                 HublotKingPower(titaniulnandzirconium,rubberband)watch,Limited
                 244 of500,SN 823700;
           (47) HublotKing PowerLavinotinto Chronograph(blacktitanium and ceramic)
                 watch,Lim ited 11of40,SN 977783;
           (48) Patek Philippe Nautilus (stainless steel) watch, Ref 5990 / 12*-001,
                 M ovem entN o 5998681,SN A384FBC;
           (49) Patek PhilippeNautilusAnnualCalendar(stainlesssteel)watch,Ref'5726/
                 1A -00l,M ovem entN o 5334786,SN A384FAP;
           (50) Patek PhilippeNautilusmanual(rosegoldand stainlesssteel)watch,Ref
                 5980 /1A R-00l,M ovem entN o 5928544,SN A 3841AP;
                AudemarsPiguetRoyalOak OffshoreChronograph(rosegoldand black
                rubberband)watch,Ref3850,SN 629840;
           (52) AudemarsPiguetRoyalOak Offshore SafariChronograph (stainlesssteel
                andbrownband)watch,No 5446,Ref26170,SN G43443;
                AudemarsPiguetRoyalOakOffshoreChronographBumbleBee(carbon)
                 w atch,N o 2376,Ref26l76,SN 48097;
                 AudemarsPiguetRoyalOak Offshore(stainlesssteel)watch,No l836,Ref
                 26l70,SN 6 17332;
           (55) RogerDubuisEasy DiverTourbidiver(stainlesssteel)watch,M o&ement
                 No RD05,SN 13/88;
           (56) RogerDubuisM uch M ore (rosegold)watch,SN 23/28,stamped 750;
           (57) PaneraiLuminorM onopulsanteGM T Chronograph (titanium and ceramic)
                 watch,Lim ited 1-,005 of500,No 0P6752,RefPAM 00317,SN 88 1458977;
           (58) PaneraiLuminorSubmersibleDiversProfessional(stainlesssteel)watch,
                 Lim ited .
                          1459 of700,N o OP6701,SN BB 1253185;
           (59) PaneraiLuminor(stainlesssteel)watch,LimitedK198of500,No0176726,
                 SN P80596207;
           (60) lW C PilotSpitfire Chronograph PerpetualCalendar(yellow gold)watch,
                 No AU 750,Ref1W 379103,SN 5074132;
                 Jaeger Le Coultre M asterCom pressorD iving GM T watch,Ref 159.7-.05,
                 SN 247127l;
           (62) Jaeger Le Coultre M aster Compressor Diving Chronograph (rose gold)
                 w atch,Ref 160.2.25,SN 2469332;
           (63) Jaeger Le Coultre M aster Grande Tradition M inute Repeater m anual
                (titanium)watch,Limited65of100,Ref.187.7-.67.5,SN 2653359;
           (64) Frank M ullerCasablanca(stainlesssteel)watch,No 1018,Ref8885 C CC
                 DT;
           (65) FrankMullerMariner(stainlesssteelandreddial)watch,No69,Ref908
                 CC AT M ar;
           (66) FrankMullerMarinerChronograph(stainlesssteelandbluedial)watch,No
                 29,Ref8080 CC AT M ar;
           (67) FrankVilaTourbillonPlanetaireSkeletonSuperl-igeroConcept(titanium)
                 watch,Lim ited 3 of8,RefFVA N 6;


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             (68) Frank VilaChronograph (titanium)watch,Limited3 of48,RefFVAIO;
             (69) Greubel Forsey GM T Global Double Tourbillon (white gold) watch,
                    Lim ited 28 of33,RefGF G H T W G ,stamped A17750 02 669;
             (70) IW C Schaffhausen Big PilotAntoinedeSaintExupery Edition (rosegold)
                    watch,Lim ited 35 of500,Ref1W 500421,SN 3427442;
                    RolexDaytonaCosmograph(yellow goldandbluedial)watch,Refl(6528,
                    SN 5217M 9527;

             FinancialAccounts
             (72) Allassetsondepositinaccountnumber0209551AA heldinthenameof,orforthe
                  benefitof,AlejandroAndradeatBSlBankinSwitzerland;
             (73) A11assetsondepositinaccountnumber000000941600959heldinthename
                    ofD oble A Records USA LLC atJpM organ Chase Bank N .A .;
             (74) Al1assetsondepositinaccountnumber898060394243heldinthenameof
                    Telsey PropertiesHolding LLC atBank ofAm erica;
                    Allassetson depositin accountnum ber898061778088 held in thenam e of
                    Doble A M anagem entLLC atBank ofAm erica;
             (76) Al1assetsondepositinaccountnumber898061778091heldinthenameof
                    Doble A Farm ,LLC atBank ofA m erica;
             (77) A1lassetsondepositinaccountnumber898039362866heldinthenameof
                    M alabarM anagem entLLC atBank ofAm erica;
             (78) Al1assetson depositin accountnumber5340241792 held in thename of
                    M alabarM anagem ent,LLC atW ellsFargo Bank;
             (79) Allassetson depositin accountnum ber55364049l5 held in the name of
                    Telsey PropertiesHolding,I=LC atW ellsFargo Bank;and
             (80) A1lassetson depositin accountnumberC1447084680000114931 held in
                    the nam e of Telsey M allagers lnternational lnc. at EFG Bank in
                    Switzerland.

             3.     An agent of H om eland Security Investigations, or any duly authorized 1aw

      enforcem entagency,m ay seize,take possession,and dispose ofthe forfeited property according

      to law.

                    The United Statesshallsend and publish notice ofthe forfeiture in accordance with

      Rule32.2(b)(6)oftheFederalRulesofCriminalProcedureand21U.S.C.j853(n).
             5.     The United Statesisauthorized,pursuantto Rule32.2(b)(3),(c)(1)ofthe Federal
      Rules ofCriminalProcedure and 21U.S.C.j 853(m),to conductany discovery necessary,
      including depositions,to identify,locateordisposeofthe forfeited property orin orderto expedite

      ancillary proceedingsrelated to any third-party petition.


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                     PursuanttoRule32.2(b)(4)oftheFederalRulesofCrim inalProcedure,thisOrder
      isGnalastoDefendantAlejandroAndradeCedeno.
                     TheCoul'tshallretainjurisdiction inthismatterforthepurposeofenforcingthis
      Order.




               DO N E AN D O RDERED in M iam i,Florida,this         day ofN ovem ber,2018.




                                                       HON .ROB IN L.ROSEN BERG
                                                       UN ITED STA TES DISTRICT JUD G E




               NalinaSombuntham ,AssistalztU.S.Attorney(2 certified copies)
